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UN],'l`i-il') Srt`/\'{`I'ZS DISTRIC']" COUR'I`
EASTERN DIS']"RIC'I` ()i"` M_lSS()tjl{l - - EASTF,RN DIVISION

Julie Ltm.a, lndividua]iy, and
As cht' Fricnd for K.IJ., 21 minor
]_"t,mr\rrli~‘rs
V. : C` ausc:________ __ __
KENNE'I"I` l--H\/IA, INC. d/bfat '|"W'IN Rl\/ERS
REGIONAT,, M:{i})lCAL CRNTER, :
and GONG T. KUO, M.I'). tL/l</zt : .]URY TRIAL `I)EM`ANDIE:D
GEOR(_'}E, K_U O, M.D.. '
D§.",FF,NI')/\NTS

l"'l,lAINTIFFS' ()RI(-}INAL (fj()MPI,,/\INT
PERS()NAL INJURY/MEI)ICAL NEGLI(,¥ENCE

FAC'I`S APPLICABLE T() ALI, COUN'}`S

 

C(_')M_l;`$ NOW, J'utic: l__ruua, ln<_livi_dualty and as N€:x_t l*`riend c_)t" K. L,., a minor
("Plaintil`ts"), by and through their z'tttomcys, and f"or eaust: 0:1" action against Def`ct'ldmtts
KIEINNIS"I"l` HMA, lNC. d/b/a ”l"W]N RT`VERS Rl':fGlONAL M_}L`]_)ICAL C]£N'I`ER
(hcrcirlal`tcr referer 10 as "¥)Ct`€nctant Twi.n R.i\/Crs"), and GONG 'f`. KUO zt/k/u
(`_it"`,(`)t{(}}`l"§ KUO, M.`I*). (hcrcirt at_t`t<:'r referred to as "l_)c_[`e_ndant Kur_)") states as 'l"t)llows:

l. rI`hc l’artics

]..Ut `i"lailtti'i`t" Juti_c: I_.,unzt, tnriividtmlly and as chi I?`_;'j_cnd t)t` K. .t`,., 21 minor,
were citizens 01` the Stzttc r)t` Arkansz»ts at the time the instant cause c)t`zlctton arose and arc
citizens r).f` the St'zltc Oti` At'§<zlrlsals at the timel r)'l` i"tling this acti<.m. Plaiut'it`l"s‘ reside in
Pm_'agr)utd, (}rc:cnc (,f()llnty, Arkmtsas. Pl;.til)t'ii`["§lul§t: I,tma is the natturatf mother 0[` K. I,.,

21 minor

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l.()2 l)et`endant 'i`tv.iri l`{iversJ at all tintes relevant herein, is a hospital organized
and existing under the tava ot` the State ol" Missouri, With its principal place oi` business
located at l30t F.irst Street, Kennett, l`\/tO 63357. "l"his de.f_`e.n<'tant may he served with
process by and through its registered agent Marl< J. l)elts at 2l7 Collegc Ave, l:’t)B 68
Kennett i\/IO 6385'7.

l.t)3 Dct`endant Kuo at all times relevant herein, Was and is a physician licensed
in the Statc ot` Missouri and practicing in l)unl<lin County, Missouri, vvho held hirnsetf`
out as a prol`essionai health care provider With specialized expertise in all aspects ot
l_nedicalj surgical, hospital and nursing care and especially in the liled o.t" obstetrics and
gynccology. This defendant may he served vvith process at his usual place of business:
501 'if"caco l{oad, Kennett, l`\/l(_) 63857'.

ll. Jurisdietion and Vcnue

2.()] Jt.lrisdictio_n is proper in this court pursuant to 28 l,iSC §1332 t`or the
reason that there is complete diversity of citizenship between Plaint.it`t`s and `l)etendants
and the matter in controversy greatly exceeds the sum ot` seventy-live thousand dollars
($75_,0(){).0{)), exclusive ol` interest and eosts.

202 Venue is proper in this judicial district pursuant to 28 t_iS(_f §l 39'| l`or the
reason that a substantial part ot"the events or omissions giving rise to this claim occurred

at l_)e_ten.da.nt Twin Rivers, Whicl'i is located in t`hisjudieial district

203 'l`o thc extent that the requirements o_t` i\/_iissou.ri l_t_evised Statnt.cs, Scction
538.225 app_ly, and l’laintil`f`s specifically contend that they do not, i‘laintit`l`s have
provided requiret.t atlidavits eonccri'iing, the written opinion ot` a t‘[ualitied health care
provider certifying the merits of this case in accordance With said statute

l’laintit`t's' ()rigina| (f.`oniplaint 2
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l]l. l)uties

3.()] At all times pertinent hereto, l)e_t`endant 'l`win l{ivci‘s represented to
|’laint'it`t`s and to the pubiic at large that it was a competently staffed medical center that
would provide ap];)ropriate health care to and to the public at large by and througl'l its
n'iernbers, associatesj en'ipioyees, representatives, agents and/or ostensible agents

3.()2 At all times pertinent h.ereto, there existed a health care provider/patient
relationship between `l.')e.t`endzntt "_l"win Rivers and Ju_lie _|_,una and K_. L..

303 At all material times, Det`cndant 'l`win Rivers acted by and tl'u'ousg,h_ its
agents and einployees, who were acting within the course and scope ot" such agency

and/or employment

3.04 /-\t all times material hercto, l`)etendant K.uo was a physician licensed to
practice medicine in the Statc ol` l\/lissouri and who represented to Plaintit`t"s and to the

public at large that he was a duly licenscd, eon_tpctent physician

3.05 At all times material hcreto, there existed a heaith care providcr-_;_)atient

relationship between l_)cl"endant l§uo and l)ta.intit`l"s .lul'ie Luna and l(. li.

IV. I<`actual Alicgations Applicable "l`o A_il Counts
4.01 On or about liebrua.ry 16, 2005, i’l.aintit`l" ilulie Luna, who lives in
l)ara.t;oul<.t, /\rl<,ansas Went to the oiliees ol" t)et`endant Kuo, tier her tirst prenatal visit o'l_`
this prct;nz-incy. l’laintit"t".lulie l ,una vvas seen and t"ollo\-ved by l')ct`enr_lant l<uo tln'ot.tt;hout

her pregnancy tier baby’s cstin'n.sted delivery date was August i2, 2{)()5.

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4.02 julie Luna was diagnosed with a urinary tract infection on at least t`our
occasions by Dr. l<u.o during this pregnancy ()n April 21, there were Zt wbe in her
urine, on i\/lay E<), there were fit wbe in her urine, on .lune 8 there were 2+ wbe in her
urine, on iune 231 there were 2+ wbe in her nrin_e, and on Juty 7, there were 3t wbe in
her urine l)etendzitnt K,uo treated each of these with various antibiotics

4.03 Juiie Lutia was admitted to Det`cndant 'l"win Rivers on .luly 21, 2005 for an
`NS'I` and evaluation by Det`endant l<luo, her obstetrician. i\/lrs. liuna had a urine sent .t`or
culture and sensitivity on 7/2l/05 at 1030

404 The results ot the urinalysis were obtained by the lab by l212 hours on
.luly 21, 2005. rl"he results showed an elevated wbe and elevated `lcukocytcs, and was
positive _l_br bacteri a.

405 'i`hesc results were not obta'incd, Vicwed, and/or acted upon by t,')ct"endant.
Kuo or the hospital sta l`t`caring _t`or i\/_ls. `l`,una.

406 No antibiotics were given to l\/ls. l,t.\na at this time or at any other time
prior to the birth o'l"_i<. l_]..

407 l\/ls_ laura was kept in the hospital lbr observation and was ot`l'iciz.illy
admitted to lii&l") on July 22, 2005.

408 /\ preliminary report t`roin thc nrinaiysis concerning the culture was
obtained by the lab at l`)el`endant 'i`win Rive_rs at 0644 on 7/22/05. 'l`he report stated that
there was greater than 100,000 colonies per ml ot` grain t coeci. il`hc identitication and
sensitivity were to 't`ollow.

4.0‘) 'l"hese results were not obtaincd, viewed, and/or acted upon by l_')el"endant
l<lno or the hospital stat`t`carin;_; tbr l\/ls. luuna..

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4.10 No antibiotics were given to l\/ls. i,,una at this time or at any other time
prior to the birth o[`.K. i_i.

4.l l Baby i<.,. th was delivered in 2005 via c~seetion at 2230 hours with /-\pgars
t)'t"Q/Q.

4_l2 l`)r, Kuo's and iia/in Rivers' care and treatment ot` .lulie i,una and/or K. l r.
was negligent, includint;,‘I but riot limited to their management ot` laber, and their failure to
administer antibiotics prior to the birth r)l"K_. l..

4.13 As a direct and proximate result ot`each `lj)elendar_its‘ negligence, within 15
initiates ot`birth, baby l<;. `IJ. exhibited increased rcspirr-rtory el`t`ort which required blow by
oxygcn, and she was transferred to the NlCU, where treatment with antibiotics was
begun

4. l 4 'l`he final results ot` the urinalysis were issued on july 23, 2005, l"ollow.ing
the birth o f" baby K.. l,.. rl`hey revealed the presence ot`(iroup li strep ("GBS“)

4.15 As a direct and proxin_ia.te result ol` each l')etendants' ncgiigencc1 Baby i<_.
L. was transferred to St. l*`raneis Medical C.enter on July 23, 2005 tier treatment of her
continued complications caused by the (il:.i.‘~`i in l`eetion.

4».l6 l*`urther, as a direct and proximate result ol" each l`)el"endants’ negligence
Baby `K. li. was again transicrred to lie`l'ionhcur (,`.l'iildren's l'l`ospital on Aug§ust i.0, 2005
where she continued to receive treatment 'lj`or coi_nplications caused by the (,lBS infection

4.17 /-\nd, as a direct and proximate result ot` each l_)el'cndants’ negligence in
the care and treatment ol" lulie l,.una and/or K. li_, `l§. l,.. was ultimately discharged _t`rorn

l`,c|ionhcur t_`,l'ii.ldrcn's llospital on Septernl)er 20, 2005 with poor weight gain, trouble

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,t`ccding, ancrnia, and a feeding tubc, among other permanent conditions from which she
continues to su.t_`_t`e_r.

4.l 8 l)laintifl"s anticipate the l:)ei`endants wiil raise as a defense to this action the
]')rovisions of llouse l‘>ili 393; iiouse 'l%ili 393, and the numerous particular provisions
therein, vio`iate the Missou_ri Constitution and are therefore invalid and without legal
e't`fect. [`l\totice of Constitutional Question attached as EXhibit ij

4.19 l’_iaintijl"`ls anticipate thc l)efendr-uits will raise as a defense to this action the
provisions of llouse Bill 3‘)3_; l'louse l_`$ill 393 violates the requirements in /\rticlc lll,
§§cction 23 of the l\/[issouri (Ir')nstitution requiring that a bill have only a single subject
and that that subject be cleariy expressed in its ti tie.

4.20 Scction 538.210 of the Revised S'tatutcs of l\/iissouri, which purports to
iimit pla.intifl"s recovery for _noneer_)n<_)_i_nic damages against a hcaith care provider in an
action for damages .t`or personal injury or death arising out ol` the rendering ol` or the
failure to render health care services, vio_iates:

a. Plr-rintiff’s right to equal protection ofthe law_, gi.rarz.uiteed by Articl_e l,
Section 2 o'i`thc i\/l'issouri Constitutiorr,

b_ i"lainti l`t"s right to due process o_l`law, guaranteed by Articlc l, Section l0
ofth.e l\/iissouri (.`.`.onstitution,

e. l"laintifi"s right to a certain remedy for every i_n_iury, gin-irai_iteec'l by Articlc
Section 14 ol`the i\/l§.ssouri (_fonstitution;

d. l’lainti;lft`s right to trial byjury, gua.rz.i.nteed by Article _l, Section 22(&1) of
l‘\/lissouri (_`fonstitution;

e_ "f`he scpar:.ition of powers, established by /\rticle ll, Seetion l o_l"thc
l\/iissouri (.`.onstit.utio_n; and1

l". 'l`hc '[')roh'ibition against special laws granting to any eor]_)orz;rtion_,

assrj)ciati_on, or individual any special or exclusive i'ig§it, privilege or

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immunity, established by Article lil, Section 40 (23) o l` the Missouri
Constitution.

421 Seetion 538.225 ol` the l{evised Statutes o..t_` l\/Iissotn:i, which requires
plaintit`l"s counsel to sulnnit an at`tidavit stating that counsel has obtained the written
opinion ol` a legally qualified health care provider that each defendant had breached the
applicable standz-ird of eare, purports to limit the definition o_f` c‘legally qualified health
care provider” to those who either are practicing or have recently practiced the same
specialty as the del"endant, and purports to require the court to dismiss the action il` either
]_)laintit`l"s counsel fails to submit said al`ljidavit or, after in camera review ol" the written
opinion, the court determines that there is not probable cause to believe that a qualified
and competent health care provider will testify that the plaintil.`l" Was injured due tro
medical negligence by a del"endant, violates:

a. l)laintijl`l"s right to open courts and a certain remedy l`or every injury,
guaranteed by Artiele l, Section 14 ot` the l\/iissouri C,`onstitution;

b. l"l_aintil"l”s right to trial by jury, guaranteet'l by Artiele l, Seetion 22(21.)
` ot`the l\/iissouri Constitution;

e. "l,`lie separation ol`powers, estal;)lis.hed by Article ll, Scction l oi`the
l\/iissouri (.`.lo.nstitution;

d.. 'l`he reqt.iirement that any law rnnending or annulling a Suprenie (_`.ourt
rule ol"practiee, procedure, or pleading be limited to that purpose,
establisl'ied by _Article `V, Seetion 5 ol` the i\/l.issouri Constitution; an_d,

e. Plaees on the l)laintil`ts an evidentiary burden in the l'iling ot this
action greater than required to meet l’laintii"ts’ burden ol`prooi" at trial

422 Section 4()().7'| 5 ol`the l{,evised Statt.ltcs ol`i\/lissouri, which purports to

transfer l`rom the jury to the court the authority to determine the value o'l_` _rncdi.cal
treatment rendered to the plaint.it`[; violates p`iz'tintil`.t"s right to trial by jury as guaranteed

by Ar'ticle i, Section 22(21) o'l` the l\/lissouri Constitution.

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423 Section 408.040 ot`tl'ie Revised Statutes ot`l\/lissouri, Whicli pi.irports to
establish dit`t`erent rates for the calculation ol` postjudgment interest in tort and non~tort
actions, as Weil as different rates t"or the calculation ot" ore- and postjudgment interest in
tort actions, violates plaint'il`t`s right to equal protection oi` the law_, guaranteed by /\rtiele
l, Seetion 2 o't`tlre l\/lissouri Constitution.

424 Seetion 538.300 Ol"tire R€vised Statutes ot` l\/iissouri, Whieli purports to
exer_npt tort claims against health care providers 't"rorn the statutory requirements i"or
payment of` }')re‘» and post~juc`igni.ent' interest set 'l`ortb in Section 4[)8.(}4(} ot" the Revised
Statutes oli` Missouri, violates piaintit§t`"s right to equal protection ot" the ia\-v, guaranteed
by Articlc l, Seetion 2 ot"t'be lvlissouri Constitution and the prohibition against special
laws granting to any eorporation, a'issoeiat.ion, or individi'zal any special or exclusive right,
privilege or imnrunity, established by /\rticle ll_l, Section 40 (28) ol` the `t\/fissouri
Conslitutii_)n.

425 Sect.ion 537.()()7 ot"tlte i{cviscd Statutes o l` l.\/.lissouri, Wltic_h purports to
eliminate the joint and several liability of tort defendants Wiro are found to bear less than
lil`ty-one percent (5]%) of tire fault i.`or nlaiutil`i"s injuries, and to prohibit any party l`rorn
disclosing the impact ot` this provision to the j ury'1 violates plainti't"t"s right to due process
ol` lavv_, r;i.ia-u‘anteed by Articlc i, Seetion 10 ol` the 'l\/lissoin‘i (,`onstitution, and plaintit`t“'s
right to a certain ren_iedy for every injury, guaranteed by Artiele l, Seetion 14 o.t" the
i\/lissouri (:`Ir')nstitutioi'i.

426 i’iainti_t`t`s' cause of action accrued prior to Au§iust 28, 2(){)5_, the

clt`ective date ot`l`louse l`$ill 391 Ap'pliei.ition ol`l-lousc l%il§ 391 or any ol`it's provisions

.l"laint'itt`s" ()ri;;ina| (`,`oln plaint. 8
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,j

to the present litigation, tl"ieret`ore, Woutd violate /\rticle _l, Section lc) ot` the l\/lissouri.

Constitution, which prohibits laws t`rorn operating retrospectivety.

V. Ctaims Against `i)et'en(lants

A. Gcorge liuo, M.l).
5.01 Det`endant Kuo., in the course ol`rendering medical care and treatment to
Julie t,una and/or l_§. l,,, committed acts and/or omissions Which constitute negligence as
that term is defined by lawj including but not limited t'o, the following acts and/or
omissions:
a. i"ailing to timely and properly monitor, evaluate, diagnose and
treat i".laintit`t“s’ medical eondition(s_);

b. t"ailing to timely recognize and manage ec_)i_nplications o_t"
pregnancy_, labor and delivery; and/or,

e_ li`ailing, to order antibiotics 't`or Julic li,una prior to the birth ol"l`<t. l,.

5.02 'l`he above-mentioned acts and/or omissions o'f.`l)el`endant Kuo, in addition

to any other act that Would otherwise bc considered ncgligent, Werc singularly and/or
cun'rulativcly a proximate cause ol` the occurrence in question, and the t'lz.unag,es alleged

by the l’_lt'lint'il`t`hcrein.

B. ’l"\vin Rivers Regional iVledi ial Centcr

5.()3 l.)e["ent'lant 'l`win i'tivcrs_, by and t.l_'iroup,'h its agents, vice principals,
em'ptt')yccs and/or l_)orrowed servants, in the course o'l`rendcring medical care to t"_laintil"!`s,
comu'iittcd acts and/or omissions Wi)ich constitute n_cg_;ii;_;cncc as that term is dcl'ined by
law, including but not limited to_, the following acts and/or omissions:

t’laintitt"s' (')riginal (.`ompiaint 9
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a. tiailing to timely and properly monitor, evaluate, diagnose and
treat l’taintit.t”s medical condition(s)'.

b. l"`ailing to timely recognize and manage con'rpiicat'ions ot"
treatment;
c. li`ailing to ensure adequatc, cot.:'rpet'ent stal`l` was availabie to

evainatc, diagnose and treat l’laintit‘l";

d. li`ailurc to have proper policies and procedures t`or personnel to
tollow.

e. l"ailurc to hire adequately trained and adequately educated
personnel;

'i`. Fail'ure to provide adequate training and supervision ot` its
pcrsonnel;

g. tenure ot`its personnel to properly observe and examine Plaintit`t`; `

h. li`ailurc ot`its personnel to timely ctn.nmnnicatc With each other and

With medical doctors; and/or,

i. li`ailure ol` its nursing pc_rsorme_l to _t`oilow the hospital's own
policies and procedures

5.04 ’l`l'ie above»mentioncd acts and/or omissions ot` De'l"endant Twin Rivcrs, in
addition to any other act that Would be considered negligent, Were singularly and/or
et_unulativcly a proximate cause ol` the occurrence in question, and the dunning alleged
by the i-’l.aintit`t`herein.

V! . l)a ranges

(i.t)l As a direct and prosiinz-ltc result ot`the negligent acts and/or omissions ot`
the l)ctendants as set out bcreinabove, l§. l,. has suit`e'red, and in all reasonable medical
probz-rbility Will, 'i`or the remainder o'l` her lit`e, continue to sul`t`er p`tiysicai pain, mental
anguislr, physical inma_irl'nent, and disli§;in'crncnt.

l’l:.lintil`f`s‘ ()riginal (`loniplaint li)
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().()2 liu.rther, l-’laintil`l_` Would show that l<. l`,. will suffer permanent loss ot
earning capacity for the remainder ol` her lil`etiine1 and has and will sulil`er loss oi` the

society and companionship ot" her t`ar.nily.

6103 _Frrrther_1 in addition to the medical expenses in the past and in the f`uture_,
K. L. shall require medical care alter she reaches the age ot majority and 'l`or the rest ol`

her lit"e.

604 ln addition, Plain.ti'l`l"lulic l_,nna has su'l`l`ered damages consisting ol` severe
emotional distress and mental a.nguisli, both past and l`uturc; severe .:.nental anguish
resulting from her centernporaneous perception and observation o_t` the pain and suffering

Which her daughter, K. l,., experienced as a result ol"l')e'lcndants’ negligence

6.()5 l"`urther, l’lainti'l"l` rlulie l,una has sr.il`l`ered the loss ot` the companioninip

and society, and loss ot"l'iouselu')ld services ol`h.er dauglirter, K. t,., both past and t"ut'nrc.

6.06 ]_iurther, l’l_aintill` .lulie Luna has incurred medical expenses on behalf ol`
her minor daughter .K. l,., and Will likely con_tinr.ie to incur medical expenses until K, l,.

reaches the age ol"ina.iority_, and probably l`or the rest ol"l<l. l.,.'s natural li.l`e.

().()'7 Plaintil`l`s' past econon'ric damages include medical damages l)lz-r.intil`ls

Will also incur t`uture medical damages

().()§i l_)laintil`_l`s' l`uture economic damages include those darnag_;cs arising l"rorn

lost \vages and lost earning capacity

l’lainfift`s' ()rigin al (.`oln plaini ll
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o.t)9 l’laintil`t`s' past and t`uture non-economic damages include pain, sut`t`cring_,
mental anguish, ineonvenience_, physical impairment, distigurement, loss o.i` capacity to

enjoy lit`e, loss ot`consort.iuniJ loss ol` companionship and loss ot`hoi:isehold services

().ltl All ot` the above have resulted in damages Whieh arc Within the
jurisdictional limits ot` this Court, t`or vvhich l-‘laint.it`t`s now plead_, jointly and severally,

against l)et`endants.

().l`l i’laintit`[s would show i"urther that each and every negligent act and/or
on'rission ol` each ol` the '|)el.`endants and its agents as set orit in detail above Was
outrageous because ol` each del`endant's reckless indifference to the rights ot` others,
including .hilie liuna and K. l,., thus giving rise to an award olj` exemplary or punitive

damages

Vll. .lury Demand

7.()1 l’laintilil`s demand that all issues ot` l`act in this ease be tried to a properly
impaneled j ury.

Vl]}. Prayer For Reliet`

Wlilfil{_l_ill"()i{lj, l-‘la.inti.'l`t` .lnlie l,una, lndividually and as next t`ricnd ot` K. `lj.., a
minor_, prays that l,)c-t`cndants 'l`Win Rivers and Kuo be cited according to law to appear
and answer hcrein, and that a'l"ter tinal trial t`or judgment as tollows:

'l`hat l’_laintiiil`s have and recover t`ro.i.n_ `l)e'lcndants ’l`\vin Rivers and l<uo judgment
severally, and/or jointly, vvhere a._p_plicz-iblc, l`or their general and speciai damages
described above and in the 'l`ull amount allowed by law and punitive damages; that

l)laintit`t`s recover their costs ol.` suit; that Plaintit`ts receive prejudgment and post~

Plaintil`l`s' ()l'igilial (`.oinplaint 12
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judgment interest at the highest rate allowed by law; and that l)laint.it`.t`s receive such other

and l`u'rther relief9 at lavv or in cqnity, to vvhich they may show themselves justly entitled

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(3]/-1) 588-7271 l"ax

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